                                                                                  Motion GRANTED.




                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA               )
                                       )
                                       )
v.                                     )                       No. 3:10-00163
                                       )
                                       )                       JUDGE TRAUGER
                                       )
RONDARIUS WILLIAMSON                   )

          MOTION TO ALLOW DEFENDANT’S RETURN TO STATE CUSTODY

     COMES NOW THE ACCUSED, RONDARIUS WILLIAMSON, by and through counsel,

John Bailey, and hereby moves this Honorable Court to allow his return to state custody

during the pendency of this federal case. In support of this pleading, counsel states the

following:

     1.      Rondarius Williamson was in state custody, serving a state sentence, at the

time he was charged in the instant case. Since the commencement of the prosecution

in the instant case, Mr. Williamson has been in the Marshall’s custody.

     2.      At the conclusion of the June 28, 2012, evidentiary hearing in Mr.

Williamson’s case, undersigned counsel, at Mr. Williamson’s request, asked this Court

whether it would consider returning Mr. Williamson to state custody prior to his

September 6, 2012, sentencing hearing before this Court. The Court inquired of both

the government and the Marshalls whether they had any objection. When neither

voiced any objection, the Court indicated that it would grant such a request. The Court

then requested for undersigned counsel to attempt to work out the arrangements with




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